   Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 1 of 6 PageID #:2045




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
_____________________________________

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, Plaintiff, and RICHARD
RASCHER, Plaintiff-Intervenor,
                                                      Case No. 1:17-cv-06753

               v.                                     Judge Valderrama
                                                      Magistrate Judge Valdez
S&C ELECTRIC CO.,

            Defendant.
_____________________________________

              MOTION FOR SUBSTITUION OF PLAINTIFF-INTERVENOR

             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 25(a)


       Stephanie S. Rascher, Executor and personal representative of the Estate of Richard Lee

Rascher, by and through Plaintiff-Intervenor’s attorney, Joette S. Doran, of Joette S. Doran &

Associates, P.C., and pursuant to Federal Rule of Civil Procedure 25(a), moves this Court for an

Order substituting the Estate of Richard Lee Rascher (“Estate of Rascher”) for Richard Rascher

(“Rascher”) as Plaintiff-Intervenor in this case. In support of this Motion, Plaintiff-Intervenor,

states as follows:

       1.   Rascher intervened as a matter of right pursuant to 42 U.S.C. §2000-5(f) and Federal

Rule of Civil Procedure 24 in this action, alleging violations of the Americans with Disabilities

Act of 1990, 42 U.S.C.S. §12101 et. seq. and the Age Discrimination in Employment Act of

1967, 29 U.S.C.S. §621 et. seq.

       2. After full briefing and hearing on Defendant’s Motion for Summary Judgment, Judge
   Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 2 of 6 PageID #:2046




Robert Gettleman denied the Defendant’s Motion for Summary Judgment regarding the

Americans with Disabilities Act and granted Defendant’s motion regarding the ADEA.

       3. Pursuant to the Joint Status Report filed on February 18, 2021, the parties are at an

impasse regarding settlement negotiations and are awaiting a jury trial date.

       4. Plaintiff-Intervenor Richard Rascher died on May 5, 2021.

       5. Federal Rule of Civil Procedure 25(a) allows for the substitution of parties due to

death. Pursuant to Federal Rule of Civil Procedure 25(a)(1)-Substitution if Claim is Not

Extinguished. If a party dies and the claim is not extinguished, the court may order substitution

of the proper party. A motion for substitution may be made any party or by the decedent’s

successor or representative.

       6. Rascher’s claims against S&C are not extinguished by Rascher’s death. Guenther v.

Griffin Construction Company, Inc., 846 F.3d 979 (8th Cir. 2017) (claims under ADA survive

death of the party). Hall v. AT&T Corp., 2008 U.S. Dist. LEXIS 41078 at *3 (S.D. Ill. May 23,

2008) (“[r]emedial claims-those that seek compensation for past wrongs are not extinguished by

death of the party.”).

       7. Pursuant to FRCP 25(a)(1), a motion for substitution may be made within 90 after

service of a statement noting the death. Counsel for Rascher and Counsel for Plaintiff EEOC

were notified of Rascher’s death on May 5, 2021. On May 17, 2021, Counsel for Defendant

informed Counsel for Rascher that S&C was aware of Rascher’s death. Attached hereto as

Exhibit A is Notice of Plaintiff-Intervenor’s Death filed with the Court on May 28, 2021. This

Motion is made within the timeframes of FRCP 25(a)(1).

       8. Stephanie S. Rascher, daughter of Rascher, is the Executor and personal

representative of the Estate of Rascher.




                                                 2
   Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 3 of 6 PageID #:2047




       9. The EEOC does not oppose this Motion.

       WHEREFORE, Plaintiff-Intervenor Richard Rascher respectfully requests that this Court

grant Stephanie S. Rascher’s Motion for Substitution of Plaintiff-Intervenor pursuant to Federal

Rule of Civil Procedure 25(a) and substitute the Estate of Richard Lee Rascher for Richard

Rascher as Plaintiff-Intervenor in this action.



                                                      Respectfully submitted,

                                                      By: /s/ Joette S. Doran

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                                                  3
Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 4 of 6 PageID #:2048




                            EXHIBIT A




                                     4
   Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 5 of 6 PageID #:2049




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
_____________________________________

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, Plaintiff, and RICHARD
RASCHER, Plaintiff-Intervenor,
                                                    Case No. 1:17-cv-06753

               v.                                   Judge Valderrama
                                                    Magistrate Judge Valdez
S&C ELECTRIC CO.,

            Defendant.
_____________________________________

                                            NOTICE

               DEATH OF PLAINTIFF-INTERVENOR RICHARD RASCHER

       Stephanie S. Rascher, Executor and personal representative of the Estate of Richard Lee

Rascher, by and through Plaintiff-Intervenor’s attorney, Joette S. Doran, of Joette S. Doran &

Associates, P.C., hereby notifies this Court and Plaintiff U.S. Equal Employment Opportunity

Commission and Defendant S&C Electric Co., that Plaintiff-Intervenor Richard Rascher died on

May 5, 2021.

                                                    Respectfully submitted,

                                                    By: /s/ Joette S. Doran

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                                                5
   Case: 1:17-cv-06753 Document #: 137 Filed: 05/28/21 Page 6 of 6 PageID #:2050




                             CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 28, 2021, she caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which shall
send notification of such filing to all counsel of record.



                                                   /s/ Joette S. Doran



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                                              6
